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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION


   PUES FAMILY TRUST IRA,                                      CASE NO.: 19-MC-80024 DMM
   MICHAEL PUES EXECUTOR,
   vs.

   PARNAS HOLDINGS, INC. AND
   LEV PARNAS,

         Debtors.
   _________________________________________/

         DEFENDANT, PARNAS HOLDINGS, INC., RESPONSE TO SUBPOENA TO
         PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO PERMIT
                  INSPECTION OF PREMISES IN A CIVIL ACTION

          Defendant, PARNAS HOLDINGS, INC., by its undersigned counsel, hereby responds to

  the Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises

  served by Plaintiff, PUES FAMILY TRUST IRA, MICHAEL PUES, EXECUTOR, and states (i)

  that it was administratively dissolved on September 27, 2013 for failing to file an Annual Report

  and (ii) as to each category of document, information or item requested:

  I.      Bank Records

          All Bank records requested by the Plaintiff in Paragraph I (A) through I (C), inclusive, to

  the extent they exist, are in the possession of Defendant/Debtor’s CPA. The CPA is Michael

  Daszkal of Daszkal Bolton, LLP. Mr. Daszkal’s letter of February 5, 2019, stating that his firm is

  working on the business tax returns for entities in which they (the PARNASES) have an interest

  in for the tax periods December 31, 2010 through December 31, 2018, is being separately

  furnished to Plaintiff’s counsel.

          PARNAS HOLDINGS, INC. has no records, documents or other items which are sought

  by Plaintiff in Paragraph I (D) through I (G), inclusive.
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                                                                                  Case No.: 19-MC-80024 DMM
                                              Defendant, Parnas Holdings, Inc. Response to Subpoena to Produce
                                           Documents, Information, or Objects or to Permit Inspection of Premises

  II.       Investments

            PARNAS HOLDINGS, INC. has no records, documents or other items which are sought

  by Plaintiff in Paragraph II (A).

  III.      Employment Records

            PARNAS HOLDINGS, INC. has no records, documents or other items which are sought

  by Plaintiff in Paragraph III (A).

                                       CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that I electronically filed the foregoing with the Clerk of the

   Court and furnished a copy via email to: Tony Andre, Esquire, The Andre Law Firm, P.A.,

   18851      NE      29th   Avenue,   Suite   724,   Aventura,     FL       33180;      Ph.   786-708-0813;

   andre@andrelaw.com, on this 9th day of April 2019. I also certify that I am admitted to the

   United States District Court for the Southern District of Florida.

                                                        /s/ Chris Alan Draper
                                                        Chris A. Draper, Esquire
                                                        Florida Bar No. 0838640
                                                        Greenspoon Marder LLP
                                                        Counsel for Defendant, Parnas Holdings, Inc.
                                                        525 Okeechobee Blvd., Suite 900
                                                        West Palm Beach, FL 33401
                                                        561-838-4506
                                                        Chris.Draper@GMLaw.com
                                                        Jane.Turner@GMLaw.com




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